           Case 2:20-mj-06108-DUTY Document 5 Filed 12/17/20 Page 1 of 1 Page ID #:28
                                                                                         CLERK U.S. DISTRICT COURT
                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA                                            ~.
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Case No.        O'Z-d I'1'1       053- ~                                          Date: L 2/       ~ ~la Q~
Present: The Honorable Karen L. Stevenson, United States Magistrate Judge

Interpreter: NfA
                Gay Roberson                             N/A                                   N/A
                 beputy Clerk                  Court Reporter /Recorder              Assistant U.S. Attorney


   U.S.A. v. Defendants)        Present Cust   Bond            Attorney(s~ for Defendant(sl:    Present ADD        Ret

   N/A                                                         N/A


Proceedings:           (IN CHAMBERS)MANDATORYRLTLE 5(~ ORDER

        In accordance with the Due Process Protections Act, Pub. L. No. 116-182, 134 Stat. 894(Oct.
21, 2020),the United States is ordered to produce all exculpatory evidence to the defendant under
Brady v. Maryland, 373 U.S. 83(1963), and its progeny. Failing to do so in a timely manner may
result in exclusion of evidence, adverse jury instructions, dismissal of charges, contempt proceedings,
or sanctions.




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